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PROB 12B
(7/93)                                                                                                   FILED IN THE
                                                                                                     U.S. DISTRICT COURT
                                          United States District Court                         EASTERN DISTRICT OF WASHINGTON



                                                             for the                           Aug 21, 2014
                                                                                                    SEAN F. MCAVOY, CLERK

                                           Eastern District of Washington

                        Request for Modifying the Conditions or Term of Supervision
                                       with Consent of the Offender
                                         (Probation Form 49, Waiver of Hearing is Attached)




 Name of Offender: Jaime Barajas-Birrueta                           Case Number: 0980 2:13CR02094-TOR-3
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice
 Date of Original Sentence: April 15, 2014                          Type of Supervision: Supervised Release
 Original Offense: Misprision of a Felony,                          Date Supervision Commenced: August 8, 2014
 18 U.S.C. § 4
 Original Sentence: Prison - 60 Days; TSR - 12 Months               Date Supervision Expires: August 7, 2015


                                            PETITIONING THE COURT

To modify the conditions of supervision as follows:


15         You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider,
           enter into and successfully complete an approved substance abuse treatment program, which could include
           inpatient treatment and aftercare. You shall contribute to the cost of treatment according to your ability to
           pay. You shall allow full reciprocal disclosure between the supervising officer and treatment provider.


16         You shall abstain from the use of illegal controlled substances, and shall submit to testing (which may
           include urinalysis or sweat patch), as directed by the supervising officer, but no more than six tests per
           month, in order to confirm continued abstinence from these substances.


17         You shall abstain from alcohol and shall submit to testing (including urinalysis and Breathalyzer), as
           directed by the supervising officer, but no more than six tests per month, in order to confirm continued
           abstinence from this substance.


18         You shall not enter into or remain in any establishment where alcohol is the primary item of sale.


                                                            CAUSE

On August 8, 2014, Mr. Barajas-Birrueta was release from custody after serving his 60-day sentence for Misprision
of a Felony, in violation of 18 U.S.C. § 4.

On August 11, 2014, Mr. Barajas-Birrueta reported to the U.S. Probation Office for intake and a review of conditions
of supervision. As per the general condition that requires him to refrain from any unlawful use of a controlled
substance, the defendant was directed to submit to urinalysis testing. The specimen collected returned presumptive
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positive for cocaine using the MP Rapid test device. Mr. Barajas-Birrueta was given the opportunity to address any
chemical dependency issue he may have, instead, he adamantly denied illegal drug use. The defendant questioned
whether the medication he was taking could return as a positive test for cocaine.

On August 18, 2014, this officer received test results from Alere Toxicology Services confirming the presence of
cocaine in the specimen collected on August 11, 2014, from the defendant. It was not until Mr. Barajas-Birrueta was
confronted regarding the positive test results for cocaine, that he admitted to the use of the illegal substance. The
defendant reported he went to a local bar in Granger, Washington, the day before reporting to the probation office.
Mr. Barajas-Birrueta stated while at the bar, he consumed a couple of beers, and met a couple of individuals in the
establishment’s restroom who offered him the drug.

Per the presentence report, Mr. Barajas-Birrueta reported not consuming any alcohol due to the medications he is
taking. Based on his disclosure of going to a bar, consuming alcohol, and using illegal drugs is a great concern.
Although Mr. Barajas-Birrueta initially denied the use of cocaine, he agreed to abstain from drugs and alcohol use,
in addition to obtaining a drug and alcohol evaluation. The defendant stated that if directed, he will participate in
recommended treatment.

This officer has reviewed the attached waiver and hearing to modify conditions of supervised release with Mr.
Barajas-Birrueta, to which he acknowledged this understanding with his signature. The requested modification will
require the defendant to abstain from drugs and alcohol use, in addition allow him to address his chemical
dependency issue.

                                                                             Respectfully submitted,
                                                                      by     s/Jose Zepeda
                                                                             Jose Zepeda
                                                                             U.S. Probation Officer
                                                                             Date: August 20, 2014
THE COURT ORDERS

[ ]        No Action
[ ]        The Extension of Supervision as Noted Above
[ X]       The Modification of Conditions as Noted Above
[ ]        Other

                                                                             Signature of Judicial Officer

                                                                             August 21, 2014
                                                                             Date
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